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United States District Court §@§; §§ § § mo §0
WESTERN DISTRICT 01= TENNESSEE C§J§L§‘K ' §§ JS DISI CT.
Eastern Division G' ‘ d JACKSON
JUDGMENT IN A CIvIL CASE
ANITA RHODES
V.
ALLSTATE ]NSURANCE COMPANY CASE NUMBER: 1:04-1102-T/An
and ACE AMERICAN INSURANCE
COMPANY,

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered

lT lS ORDERED AND ADJUDGED that in compliance with the order entered in
the above-styled matter on 4/29/2005, the lV|otion for Partial Summary Judgement filed
by Ace on December 27, 2004, the Motion for Summary Judgement ti|ed on Nlarch 8,
2005, and the |Vlotion for Summary Judgement filed by A||state on lVlarch 4, 2005 are
GRANTED, and this action is hereby DlSMlSSED.

APPROVED:

Q;Z»MAQ§»M

S D. TODD
AITED STATES DISTRlCT JUDGE

ROBERT R. Di TROLIO

 

 

CLERK
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DATE ‘ ' DEPUTY dLERK

This document entered on the docket sheet in compliance

with Rule 58 and/or'/Q(a) FRcP on § l§ ll § § . /%‘j

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Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
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May 5, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

